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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Mr. A,
Plaintiff,
vs.

ClVlL ACTION NO. l:l9-CV-00015

U.S. IMMIGRATlON AND
CUSTOMS ENFORCEMENT et al,

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Defendants.

ORDER
Bef`ore the Court is the parties Joint Status Report and Request for a Stay. Having
considered the Request, the record in this case, and good cause existing, it is hereby ORDERED
that thc chucst is GRANTED and thc case is stayed pending resolution of the credible fear
interview for Mr. A. that has been scheduled for Monday, March ll at 9:00 a.m. Ccntral.

SO ORDERED.

Dated: March l , 2019 »

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United States District ge

